EXHIBIT A
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                            )
In re:                      ) Chapter 11
                            )
SCOUT MEDIA, INC., et al.,1 ) Case No. 16-13369-MEW
                            )
                Debtors.    ) Jointly Administered
                            )
                            )

    ORDER GRANTING FIRST OMNIBUS MOTION PURSUANT TO 11 U.S.C.
      §§ 105(a) AND 365(a) TO REJECT EXECUTORY CONTRACTS AND
     UNEXPIRED LEASES NUNC PRO TUNC TO THE REJECTION DATE

        This Court having considered the Motion of Scout Media, Inc. and certain of

its affiliates, as debtors and debtors in possession (the “Debtors”), pursuant to

sections 105(a) and 365(a) of the Bankruptcy Code, for entry of an order approving

the rejection for certain executory contracts and unexpired leases at set forth on

Exhibits 1 and 2 attached hereto nunc pro tunc to the Rejection Date, all as more fully

set forth in the Motion; and the Court having jurisdiction to decide the Motion and the

relief requested therein in accordance with 28 U.S.C. §§ 157(a)-(b) and 1334(b); and

consideration of the Motion and the relief requested therein being a core proceeding

pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to

28 U.S.C. §§ 1408 and 1409; and notice of the Motion having been given as provided

in the Motion; and such notice having been adequate and appropriate under the


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        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
        taxpayer-identification number are: Scout Media Holdings, Inc. (1936), Scout Media, Inc.
        (1438), FTFS Acquisition, LLC (7230), and Scout.com, LLC (3269). The location of the
        Debtors’ headquarters and the Debtors’ service address is 122 West 26th Street, Fifth Floor,
        New York, NY 10036.
circumstances; and it appearing that no other or further notice need be provided; and

the court having held a hearing to consider the relief requested in the Motion (the

“Hearing”); and upon the record of the Hearing and all of the proceedings had before

the Court; and the Court having found and determined that the relief sought in the

Motion is in the best interests of the Debtors, their respective estates and creditors,

and all parties in interest, and that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is granted to the extent set forth herein.

       2.      Each executory contract and/or unexpired lease identified on Exhibits

1 and 2 (collectively, the “Agreements”) is hereby rejected, effective as of the

Rejection Date as set forth on Exhibits 1 and 2, pursuant to sections 105(a) and 365(a)

of the Bankruptcy Code.

       3.      This Order shall be deemed to be a separate order with respect to each

Agreement covered hereby.

       4.      Nothing herein shall constitute a determination that the Contracts

constitute executory contracts and/or unexpired leases under section 365 of the

Bankruptcy Code.

       5.      The Debtors are authorized and empowered to take all actions

necessary to implement the relief granted in this order.




                                                 2
       6.      This Court shall retain jurisdiction to hear and determine all matters

arising from or related to this Order.



Dated: February __, 2017
       New York, New York

                                            Hon. Michael E. Wiles
                                            United States Bankruptcy Judge




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Exhibit 1
                                                             The Contracts


           DESCRIPTION OF                COUNTERPARTY TO                ADDRESS OF COUNTERPARTY                REJECTION DATE
            DESIGNATED                 DESIGNATED CONTRACT                             TO
             CONTRACT                                                     DESIGNATED CONTRACT
1.    Employment Contract Dated May          Aamir Shibli                      629 Grand Street                 February 13, 2017
                30, 2016                                                             Apt. 2
                                                                             Brooklyn, NY 11211
2.        Employee Offer Letter            Andrea Granucci                    40 E. Birch Street                February 13, 2017
                                                                                       2C
                                                                           Mount Vernon, NY 10552
3.        Employee Offer Letter             Barry McBride                        7347 Taft St.                  February 13, 2017
                                                                              Mentor, OH 44060
4.        Employee Offer Letter           Benjamin Beachler                       12 Avanzare                   February 13, 2017
                                                                               Irvine, CA 92606
5.      Publisher Contract (Virginia       Benjamin Standig                                                     February 13, 2017
                                                                                  6633 Fairfax Road
                   Tech)
                                                                                Chevy Chase, MD 28015
6.        Employee Offer Letter             Brian Simmons                        181 Treadstone Lane            February 13, 2017
                                                                                  Dallas, GA 30132
7.          Publisher Contract               Carl Bailey                         1208 Waterford Way             February 13, 2017
                                                                                   Allen, TX 75013
8.        Employee Offer Letter            Casey Cosgrove                          645 Loma Drive               February 13, 2017
                                                                               Hermosa Beach, CA 90254
9.    Employment Contract Dated May        Cheryl Aarsvold                                                      February 13, 2017
                                                                                3844 Vincent Avenue S
                30, 2016
                                                                                Minneapolis, MN 55410
10.         Vendor Agreement              Christopher Scales                    3165 29th Street, Apt. A8       February 13, 2017
                                                                                  Astoria, NY 11106
11.   Employment Contract Dated May         Craig Amazeen                                                       February 13, 2017
                                                                                  235 W 48th St #40H
                30, 2016
                                                                                 New York, NY 10036
12.       Employee Offer Letter              David Katch                            63 W 90th Street            February 13, 2017
                                                                                      Garden Apt.
                                                                                  New York, NY 10024
13.         Vendor Agreement                Dynamic Logic                      c/o Kantar Finance Services      February 13, 2017
                                                                             3333 Warrenville Rd., Suite 400
                                                                                     Lisle, IL 60532
14.   Publisher Contract   E-Nova Solutions, LLC              1616 Shepard Dr.               February 13, 2017
                                                           Maple Glen, PA 19002
15.   Hosting Contract          Facebook, Inc.            Attn: Accounts Receivable          February 13, 2017
                                                         15161 Collections Center Dr.
                                                              Chicago, IL 60693

                                                           Lewis & Llewellyn, LLP
                                                         Attn: Marc R. Lewis, Paul T.
                                                          Llewellyn, Denis Schmidt
                                                      505 Montgomery Street, Suite 1300
                                                          San Francisco, CA 94111

                                                            Attn: Mark Zuckerberg
                                                              1601 Willow Road
                                                            Menlo Park, CA 94025

                                                       c/o Corporation Service Company
                                                         2711 Centerville Rd. Suite 400
                                                            Wilmington, DE 19808
16.   Vendor Agreement      Franklin Pictures, LLC        3385 Lanatta Street, Suite A       February 13, 2017
                                                            Sacramento, CA 95819

                                                            c/o Franklin R. Prevatt
                                                            4729 Donnie Lyn Way
                                                            Carmichael, CA 95608
17.   Vendor Agreement             Fueled                  568 Broadway, 11th Floor          February 13, 2017
                                                            New York, NY 10012

                                                      c/o National Registered Agents, Inc.
                                                               160 Greentree Dr.
                                                               Dover, DE 19904
18.   Publisher Contract   Full Time Fantasy Sports           10892 Maiden Lane              February 13, 2017
                                                         Bainbridge Island, WA 98110

                                                        Attn: Ian Ritchie, Founder/CEO
                                                         8905 W. Post Lane Suite 100
                                                             Las Vegas, NV 89148

                                                                  Ian Ritchie
                                                       c/o Fulltime Fantasy Sports, LLC
                                                                            848 Rainbow Blvd.
                                                                           Las Vegas, NV 89107

                                                                      Wollmuth Maher Deutsche LLP
                                                                     Attn: James N. Lawlor and John D.
                                                                                 Gaimpolo
                                                                        500 Fifth Avenue, 12th Floor
                                                                            New York, NY 10110

                                                                       Ryan Swanson & Cleveland
                                                                      1201 Third Avenue, Suite 3400
                                                                           Seattle, WA 98101

                                                                              Myer Law PLLC
                                                                             Attn: John A. Myer
                                                                            2101 Fourth Avenue
                                                                          Seattle, WA 98121-2315
19.     Employee Offer Letter               Gayne Young                       209 W. Mulberry            February 13, 2017
                                                                         Fredericksburg, TX 78624
20.     Employee Offer Letter               Holly Hallquist                9456 Columbus Ave S           February 13, 2017
                                                                         Bloomington, MN 55420
21.       Marketing Contract                  Hootsuite                     Attn: David Accazar          February 13, 2017
                                                                               5 East 8th Ave.
                                                                         Vancouver, BC V5T 1R6
                                                                                   Canada
22.       Publisher Contract         Indians Baseball Insider, LLC          10271 Karaboo Trail          February 13, 2017
                                                                         Concord Twp, OH 44077

                                                                       Indians Baseball Insider, LLC
                                                                          c/o Incorp Services, Inc.
                                                                      9435 Waterstone Blvd., Ste. 140
                                                                           Cincinnati, OH 45249

23.       Publisher Contract             Irish Illustrated LLC             Attn: Jack Freeman            February 13, 2017
                                                                           20353 Garnet Drive
                                                                          South Bend, IN 46614
24.       Vendor Agreement                   James Manry                 421 Jefferson Circle NE         February 13, 2017
                                                                           Atlanta, GA 30328
25.   Publisher Contract (Virginia           Jason Stamm                       506 Craig St.             February 13, 2017
                                                                         Christianburg, VA 24073
                Tech)

26.      Employee Offer Letter            Jay Torrell            1632 10th Avenue West      February 13, 2017
                                                                    Seattle, WA 98119
27.       Publisher Contract       Jensen Sports Media, LLC       Attn: Chad N. Jensen      February 13, 2017
                                                                    5641 Poppy Circle
                                                               Stansbury Park, UT 84074
28.       Publisher Contract         Jets Insider.com Ltd.     223 Wall Street, Suite 200   February 13, 2017
                                                                 Huntington, NY 11743
29.      Employee Offer Letter             Joel Cox              3053 W. 132nd Terrace      February 13, 2017
                                                                   Leawood, KS 66209
30.      Employee Offer Letter          John DeFrance              1491 Pinetree Trail      February 13, 2017
                                                                    Eagan, MN 55122
31.      Employee Offer Letter          John Huffman            5615 Evergreen Loop SE      February 13, 2017
                                                                   Auburn, WA 98092
32.      Employee Offer Letter        Jonathan Jacobino              3 North 3rd Street     February 13, 2017
                                                              Courtland Manor, NY 10567
33.      Employee Offer Letter          Jonathan Kahn          27-10 Astoria Blvd Apt 5D    February 13, 2017
                                                                    Astoria, NY 11102
34.       Vendor Agreement             Jonathan Levine             8228 Fountain Ave.       February 13, 2017
                                                                          Suite 4
                                                              West Hollywood, CA 90046
35.      Employee Offer Letter         Kevin E. Zanker           13616 Heather HLS Dr.      February 13, 2017
                                                                  Burnsville, MN 55337
36.   Website Purchase Agreement    Lavaca Outdoors, LLC                700 Lavaca          February 13, 2017
                                                                        Suite 1300
                                                                    Austin, TX 78701

                                                              DuBois Bryant & Campbell
                                                               Attn: Seth E. Meisel, Esq.
                                                               303 Colorado, Suite 2300
                                                                   Austin, TX 78701

                                                                Lavaca Outdoors, LLC
                                                                   303 Colorado St.
                                                                      Suite 2300
                                                                  Austin, TX 78701
37.      Employee Offer Letter           Matt Puckett            2207 Longhorn Lane         February 13, 2017
                                                                  Buffalo, MN 55313
38.        Employee Offer Letter          Melissa Lockard                913 Moon Ct.              February 13, 2017
                                                                      Lafayette, CA 94549
39.        Employee Offer Letter          Michael A. Olson             1620 209th PL NE            February 13, 2017
                                                                    Sammamish, WA 98074
40.        Employee Offer Letter        Michael H. Gregoire            3350 W. Twain Ct.           February 13, 2017
                                                                       Anthem, AZ 85086
41.         Service Agreement           Microsoft Licensing         1950 N. Stemmons Fwy.          February 13, 2017
                                        GP Lockbox 842467                  Suite 5010
                                                                        Dallas, TX 75207

                                                                    Microsoft Licensing GP
                                                                   c/o Microsoft Corporation
                                                                 Corporation Service Company
                                                                 2711 Centerville Rd., Suite 400
                                                                    Wilmington, DE 19801

42.        Employee Offer Letter           Monika Samek               2702 NE 21st Street          February 13, 2017
                                                                      Renton, WA 98056
43.     Publisher Contract (Missouri       Nathan Latsch                                           February 13, 2017
                                                                    517 Treetop Village Dr.
                   Tigers)
                                                                      Ballwin, MO 63021
44.         Service Agreement              Outbrain, Inc.          39 W. 13th Street, 3rd Floor    February 13, 2017
                                                                     New York, NY 10011
45.   Employment Contract Dated May        Peter Ruprecht                                          February 13, 2017
                                                                     511 6th Avenue #220
                30, 2016
                                                                     New York, NY 10011
46.        Advertising Contract        Premiere Networks, Inc.          P.O. Box 98849             February 13, 2017
                                                                       Chicago, IL 60693
47.         Publisher Contract             Robert Carr, Jr.         1501 Secret Ravine Pkwy        February 13, 2017
                                                                      Roseville, CA 95661
48.         Vendor Agreement                 RPM, Inc.                 6665 W. HWY 13              February 13, 2017
                                                                       Savage, MN 55378
49.    Publisher Contract (Colorado         Ryan Krous                                             February 13, 2017
                                                                      3324 Pepperwood Ln.
                  State)
                                                                     Fort Collins, CO 80525
50.        Employee Offer Letter        Shawn Patrick Nustad         1506 Holdridge Terrace        February 13, 2017
                                                                      Wayzata, MN 55391
51.        Employee Offer Letter          Spencer Winding        518 Gregory Avenue, Unit C214     February 13, 2017
                                                                     Weehawken, NJ 07086
52.   Employee Offer Letter        Steve Scott Kennedy               765 Sturges Way               February 13, 2017
                                                                  Alpharetta, GA 30022
53.   Employee Offer Letter         Tracy E. Pierson              2576 Featherwood St.             February 13, 2017
                                                                Westlake Village, CA 91362
54.     Hosting Contract              Twitter, Inc.                Attn: Michael Buse              February 13, 2017
                                                                    1355 Market Street
                                                                         Suite 900
                                                                 San Francisco, CA 94103

                                                                        Blakeley LLP
                                                             Attn: Crispin Labayan Collins, Esq.
                                                             18500 Von Karman Ave, Suite 530
                                                                   Irvine, California 92612

                                                               c/o Incorporating Services, Ltd.
                                                                    3500 S. DuPont Hwy.
                                                                      Dover, DE 19901
55.     Hosting Contract      USA Today/ US Presswire, LLC          1230 Peachtree St. NE          February 13, 2017
                                                                         Suite 1900
                                                                     Atlanta, GA 30309

                                                                 c/o CT Corporation System
                                                                1200 South Pine Island Road
                                                                    Plantation, FL 33324
Exhibit 2
                                                 The Leases


     DESCRIPTION OF       COUNTERPARTY TO                 ADDRESS OF COUNTERPARTY             REJECTION DATE
      DESIGNATED          DESIGNATED LEASE                               TO
          LEASE                                               DESIGNATED LEASE
1.    Real Estate Lease   Contra Media Group LLC                 Attn: Steve Mass              February 28, 2017
                                                                 122 West 26th St.
                                                                      5th Floor
                                                               New York, NY 10007
2.    Real Estate Lease    JMM Properties, LLC                   Attn: Tom Mason               February 28, 2017
                                                              14701 Rocksborough Rd.
                                                               Minnetonka, MN 53345
3.    Real Estate Lease     Magoon Enterprises              8451 SE 68th Street, STE 200       February 28, 2017
                                                             Mercer Island, WA 98040

                                                                  Stokes Lawrence, P.S.
                                                                 Attn: Michael R. Garner
                                                              1420 Fifth Avenue, Suite 3000
                                                                   Seattle, WA 98101

                                                                      c/o SEL, Inc.
                                                              1420 Fifth Avenue, Suite 3000
                                                                   Seattle, WA 98101

                                                                  Attn: Karen Stephens
                                                                  130 Nickerson Street
                                                                        Suite 207
                                                                   Seattle, WA 98109
4.    Real Estate Lease     SH Real Estate, LLC                900 HWY 169 N., Suite 100       February 28, 2017
                                                                  NE Hope, MN 55428

                                                                  Attn: James Thomas
                                                                Manager/Registered Agent
                                                                   1314 Westridge Rd.
                                                                  New Elm, MN 56073
5.    Real Estate Lease     SH Whitewater, LLC                 900 HWY 169 N., Suite 100       February 28, 2017
                                                                  NE Hope, MN 55428
       Attn: James Thomas
        Registered Agent
       1314 Westridge Rd.
       New Elm, MN 56073

     Savitt Bruce & Wiley LLP
    Attn: Stephen C. Wiley, Esq.
   1425 Fourth Avenue, Suite 800
      Seattle, WA 9801-2272

Dunn Carney Allen Higgins & Tongue
   Attn: John H. Chambers, Esq.
 851 SW Sixth Avenue, Suite 1500
     Portland, OR 97204-1357

       Gialson & Hunter, LLP
   Attn: Daniel A. Beckman, Esq.
      Golden Hills Office Ctr.
      701 Xenia Ave., S., #500
      Minneapolis, MN 55416
